                        Case 5:19-cv-04742-EJD Document 20 Filed 04/10/20 Page 1 of 3


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                   7   Attorneys for Plaintiff
                       Velodyne Lidar, Inc.
                   8

                   9
                                                      UNITED STATES DISTRICT COURT
               10
                                                 NORTHERN DISTRICT OF CALIFORNIA
               11
                                                           SAN JOSE DIVISION
               12

               13      Velodyne Lidar, Inc.,                        CASE NO. 5:19-cv-04742-EJD
               14                        Plaintiff,
                                                                    JOINT STATUS REPORT
               15             vs.
               16      Hesai Photonics Technology Co., Ltd.,        Judge: Hon. Edward J. Davila
                                                                    Date Action Filed: August 13, 2019
               17                        Defendant.
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                                                                                                JOINT STATUS REPORT
ATTORNEYS AT LAW
 SILICON VALLEY                                                                             CASE NO. 5:19-CV-04742-EJD
                            Case 5:19-cv-04742-EJD Document 20 Filed 04/10/20 Page 2 of 3


                   1
                                 Pursuant to the Court’s October 11, 2019 Order Granting Defendant’s Unopposed Motion
                   2
                       to Stay in the above-captioned case, Plaintiff Velodyne Lidar, Inc., and Defendant Hesai Photonics
                   3
                       Technology Co., Ltd., submit this Joint Status Report.1
                   4
                                 The International Trade Commission (“ITC”) Investigation In the Matter of Certain
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                       Rotating 3-D LiDAR Devices, Components Thereof, and Sensing Systems Containing the Same,
                   6
                       Investigation No. 337-TA-1173 (the “ITC Matter”), remains pending.
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                                 On January 15, 2020, Administrative Law Judge McNamara held a Claim Construction
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                       Hearing. On March 13, 2020, the Commission “ordered that all in-person hearings in Section 337
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                       Investigations that are scheduled to occur within the next 60 days be postponed and re-scheduled.”
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                       Id., Order No. 21, at 1. The hearing for the ITC Matter was originally “scheduled to occur between
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                       May 6-8, and May 11-12, 2020.” Id. Thus, the ITC Matter hearing has been “postponed by
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                       Commission Order.” See id.
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                                 On March 18, 2020, the ALJ McNamara held a teleconference with the parties. Id., Order
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                       No. 23, at 1. As a result of the teleconference, ALJ McNamara ordered “that the Procedural
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                       Schedule be suspended for 45 days for all active tasks except for discovery the Parties have agreed
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                       can be completed, such as document production.” Id. at 2. Another teleconference “will be
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                       scheduled in or about May 1, 2020 to revisit the status of the Procedural Schedule.” Id.
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               19
                           Dated: April 10, 2020                         Respectfully submitted,
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               21                                                        By: /s/ Douglas E. Lumish
                                                                             Douglas E. Lumish
               22
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                                                                         Patricia Young (CA 291265)
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                       1
                          By joining this Status Report, Defendant does not waive and expressly reserves any and all
               27      defenses, specifically including but not limited to the defenses of lack of personal jurisdiction
                       and/or insufficiency or invalidity of service of the Summons and Complaint. Defendant’s limited
               28      appearance and this Joint Status Report shall not be construed as a submission to the jurisdiction
                       of this Court or a waiver of or consent to service of the Summons and Complaint.
                                                                                                       JOINT STATUS REPORT
ATTORNEYS AT LAW
 SILICON VALLEY                                                         1                          CASE NO. 5:19-CV-04742-EJD
                         Case 5:19-cv-04742-EJD Document 20 Filed 04/10/20 Page 3 of 3


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               13                                                      Attorney for Defendant
                                                                       Hesai Photonics Technology Co., Ltd.
               14

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               16

               17                                       FILER’S ATTESTATION
               18
                              Pursuant to Civil L.R. 5-1(i)(3), I hereby attest that concurrence in the filing of this
               19
                       document has been obtained from each of the other signatories.
               20

               21
                       Dated: April 10, 2020                               By:   /s/ Douglas E. Lumish
               22                                                                Douglas E. Lumish
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                                                                                                     JOINT STATUS REPORT
ATTORNEYS AT LAW
 SILICON VALLEY                                                        2                         CASE NO. 5:19-CV-04742-EJD
